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                             EN TI-[l 3 UNf ITED STATES ]DISTRICT COURT F'O:R.'TFh?
                                        :N O:RTHE.F :IV jxsT'F,,j,.c,,r OF GEORGIA
                                               DISTRICT OF ATLANTA.
                                                                                                                      'JUN 1 9 '20(6
VEO]LIA WATER, NORTH ANIERICA
OPERATING SERVICES) 11C E~,Ia                                                                                    1
                                                                                                                             tp u~ Chrk
    FILTER ]? :EP:~~TI1~~G :>]ER.`~ICES, INC

                             Plaintiff,
                                                                                       CIVIL ACTION IF[]-"E-
                                                                                                       IF[]-"E-
           V'S      .
CITY OFATLANTA,

                             De fiejndain t.


                                                       C 0MI'L A , I NT

          COMES NOW Plaintiff Veolia Water North A.rneri, c,a Operating LLC

f,kJ a U. .> . ]Filter Operating ;~a~Tices, ]Cnc . (" Veolia" or "F'la:i.ritii :f"), by and . through jils

un_dle nsi_gmi e;d l counsel o Frec o r dl , a xi cl 61 e' :; this C ornp lav".    ;Di,i :em[ dl a .n [t ('ity t~i _' . P~. tl~~rita

("City"    1] ]L'       "El efendant" ), stafin.g as follows :

                                               ]PARTIES )CND JURISDICTION

                                                                 l.

          VCO l. ia is a ]i lfflitE.ci li. a.bl i : lit y company organized and existing , under if, laws o f' th . e

State of Ck,la:waTe, wide i1:s principal place of busin[ess located at H[mv4on, Texas .

Plaintiff i ff i s licensed o conduct business business in the Stab-, of (1eor~;iia..



          The ~ City i s a Ge o rgia mu .nilcii p al corporation          iLTld,   thus, a citizen      of the State of

Georgia.
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                                                       3.

          This, Court maintainis juiris,cliction over this dispute pursuant to 2 :3 U,rl", .C . ~~

 1332(a), a<.; Veolia and the City ar e citizens ofd iff'e;rent states and the amount in

 controversy exceeds $75,000,00 .

                                                       14 ,

          Venue i s proper before this C our1: as the dispute arose over the provision of

services and rriate,rials on property localed in the; 'Nortli+Nri CAstric;t of Georgia .

                                                       :> .

          Plaintiff c }t:hierwisc has satisfied all c ,cfxic3itlons pY(,c,e,dlen. t necessary for the

institutlort of this, action,

                                                   FACTS

                                                       6.

          III the 19 9 0' s, th e City ale:be lrrnine d that the b iosolid> incinerato r at various water

i-e;ctairrkatiori centers, owned and . operated kO}r the C'ik'~, emitted hazardous air po l:llitan.ts,

including diox-iris and volatile organic {Compounds that are precursors of ozone . ]Further,

the Ci1 :y ways aware that the file :; of the, Georgia E-n-vironnicnital Protections Division

contained many documents, memorializing complaints c,OriCes I'l]LTl~; emissions fi-cirn said

bi.c isol i cls i.ric. i;neirators and the cause o fthose complaints, imclLuding improper operating

practii c;es. '[']hesf, farts caused_ the C i ty to desire to iriniin i.ze contributions 1:a, ]pirodurlriari

o f,aa ia ne , reduce odor problems a ssociated with incineration o f' bi c soli.dls and to

investigate allennal :ive methods of biosolids disposal that would eliminate the need f -A-

inci»era. t:ion.




                                                       2
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          On April 3 , 20O1, the C ity issued a request for a s1 :a.t.:In&IRt of g7xalifications/

request for proposals for 1 oja ;g temn Biosolids N Z an~l3 ;QMEL e .n IS ',Services (the "RFP"), 'Fhe

P :F]P c ,arite:rriplat e d nnanaprCrnent o f' the bi o soli dls services For the City over a period of

twenty (20) years . The Cir r° s g oal w as to institute ffi ll beneficial reu .se of the City' : ;

bio ;aolid; using an approach that would m ~~; K i rni~ .e: the environmental benefit of this

nutii ent-rice pr oduc t and phas e :- gout i nr i n.er, al;ion as a means of biosolids disposal .


                                                             S.

          The P:17]) envisioned %a integrated Design Build and OperEttion approach for the

entit y which eventually procured the contract, 'Said E ,ntity•wo-u ld design, bu illcl and

operate the facilities necessary fix the new biosolid disposal process . INlile completing

the Design Build portion of the work, the entity w oullcl r n ana €;e the existing biosolid

disposal s,yste .m, which1 would remain and be, adopted into i:k~e ; system
                                                                      .


                                                             9..

          The PIT' provided that implementation of the Design Build r1crrtiori {of the contract

Would take pll,ace over .a rnulti-- year period, whicli would include phasing in of

faCilit: ie,s i:O : facilitate 1h . e T1CIIV biosolii cl disposal process (the "Dicsip Build

Iyn proveniE.r lts") . The R.FI' also provided information concerning the thell current .

operation cif' the bi. c'sol iicls IFac,i :lities, the condition of ' I ;h e facilities and the characteristi cs

of the i: n lco;rriing bi c, sat i cls j "influ i en.t "';! to be treated at the facilities .

                                                            1 0.

          V~,oli~~"s ~~irtapo .,al was sub nliittecl in October of-200 i .. ~ihi, Design Build.

Improvement asp ect cf1 "Veol iia's proposal i ncluded the design an d construction of a 100
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dry 1:On .peer day biosoli .dls treatment facility which would l,i,ni,ra.t e no t les s t han 90 percent

C l[a ss-A b enE,ii riia.l reuse product and the use of a SEGHERS then -na,l drying, proces s to

treat the :li}I ) tons of'b i o soli.dLs.

                                                                  1111 .

           Repairs to and rep; l arem7er1 to f existing egU.ipm erit iv e :rf ,- critical to the Veolia's

plan for c~~~e ~ration ~ ~~f tliE~ b i ~~ ,~oli~3,~ f~ri. l :itif~s , . [~y conj~anrl :i~~:n ~vith ' Veoli.a ' s nn ~~di~ira'I.i~~~ m s

t o the City's thermal processors, digester facilit: i e s, andd methane gas storage and

transmission systems, Veolia planned t o increase the quality and quantity of the methame

gas ~n 'acluce :d~ . In tum , this gas wo uld be used to fil,- 1 . 11ie ; dr~ E .rs thereby reduci ng natural

gas demand . Further, there w as a ph u-i for installation o f : n e,w hi~jicr efficiency

cent7-i fixge;; and repairs to existing, c ern tlY :Fi lgf;rs 'which would r educe, the water ccontent of

the, solids ;ul d increase the efficiency while di,c ,reasiri€; the cost of sludge disposal .


                                                                  1. ~! .

           All of the Design Build ]rnprovem. ent s ,                            and repairs 'w ere to 2>E ,

completed in order to bring these efficiencies and co n-e;ctiian s, online to allovv pwpcnr and

efficient operation of the facilil :ieA> going f6mard .




           It was anticipated that, 'were V e,a lia the successful proposer, it would sign a

contract arid assume control of the facilil.i ~ ~, in January 2002 and would ii.r.~rnediatel ~~

comi-ne;nc,e 1te; required repairs , replacements and Design Bu ild Improvements.

                                                                  1 4.

           The City selected Veolia, thereby accepting eolia's proposal 1 :c• de-sign and

construct 1+0 0 cli-y ton per day bi .eisoliicLs treatment facility which would generate, not less



                                                                   4
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than 5I C1 pe:rce ,nt C la s s-.A. beneficial reuse product a.n .d , the use of a SEIGHEIRS thermal

drying process to treat the 100 tons of biosolids .

                                                       1 5.

         Due to City delays, the Final Services Agreement far Long-Terni E3iosolids

Ma:na; ge,irri e nt 'Services (the "Ag ree ;rne>nt") was not executed until ort or about August 1 ,

20022 m d `Teollia d id not assume control. of the faci lities until December o f' 100 :?, alrno,,l:

one (1) ye ar, later than. contemplated undel, the R.Fl' . A cop y o f th e maiiri 'body of li ie,

P,~ ;~•eem~~»1: :is attached as E :Klhibit "A" to thiis Complaint and incorporated by reiFe,ren .ae .

E)llf: to fl-11, valurti in.a,u~s ils1tuxe of' the vwious doc;u rne: nts which a re part o f the Agrc+,m.en. t .,

they are not attached to this Complaint . Those documents w hich are part of' 1:he

A,€;reem o~ii1: iiriclude, without limitation, the RXP and . V eoL ia' s proposal .

                                                       16.

         The A.J~[Vemen1: included a scope- of w~orlc fm the re~paiirs„ replacements arid I:sesi;gn

Build Irnprovenal"Ilts .

                                                       17.

         Upon initi ati on of op e'ratiori ofthe fac:ilitics on ]]ece;rnt>er 2 , 200 : 2, Ve oli a .
                                                                                                   learned

that it was faced wit h nxirne:rou.> material Lirtfor ese,e;rt a:nd unwrtiripated conditions .

                                                       18.

         Thc soui-re : of these unforeseen and unanticipated conditions included ., but was not

Limited to, the following :

         ( a;I The condition of 1:hF, d :l j;E~st~ers was much worse than an.t :i c,ipa'tecl or could

                  have been d .isrover ed pirior to the 'Jeol ia beginning operation of the

                  facilities. As a result of these urificiresei,n conditions, the equipment was

                  unable to digest prope-irly, and 'Vealia could no t reduce the solids volume
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         or produce methane t o t ie; : le ; ve;l s and quantity specified in ffie, Agreement .

         Tlhis'. ;i rnmediately, raus ecl an inc rease ins the i3ost for disposal, in inem-ease

         in opei-atiori labor to reduce the solids loadi ng to meet pe: rrnic, a xicl

         inadequate methane upply causing an increase in natural gas costs ,. These

         cfpf,r'atin€; costs were, ofeoiurse ;, in addition to the increased cleaning and

        repair-costs necessitated by the ro»diitiori of the digesters

 (b) The Cit .y ''s~ staff, between Jai-nix-31 2002 and December 2002, essentially

        abau-ida rif;cl m <<int elnanc ,f, of the facilities equipm . en.t and ipo redd

        operational requirem ents. A key example 'was stafi's fa ilure to rnainlrain

        the heating equi l)I r.I e;n A in the ciig ;e ste;rs thereby causing anaerobr i c, d;igc;stiion

        to cease. A i irtlier indication f they neglect of i3 iige-stirs was therE. use by

        stall 'as holding tanks . This caused s: i pifiLc;an.t control problems for both

        the digestion arid de-INatering processe,.s. These sx.ac ;e;rbatf,d the inlzoli-erit

        uncertainties in the plans for digester cleaning andd ix .jiair.

 (r,)~ The biosolids management fa+ciilitie :. equipment was damaged                      uring that .

         1 l-mon l.l-i period . The biosol id.s p7:nd ers forthe dig( .,steirs were abandoned

        or removed from the heat e: x clh,an;gejr piping; the t>iosalid.s t• e-ci€rculation

        and       mixing systems were non . -fimet:i o: na:l , and numerous ceyil;ri iu.ges

        were severely damaged or (wen completely out of service .

 (d) The influclmt fi•orn the City was rnatflTl all ;y different froin what was

        specified in the Agreement . This rion-specified influent essentially

        br ought anaeroblc, digestion to a halt, and excess grit destroyed grin(fin-s,

        rabble arms and ceirytrilFiEgf ;s, prevented pr~~p~Wi- cleaning and repairs o~i'the




                                             6
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                      digesters, and necessitated repairs and capita1L e:K;pe-inditure;, to              ,

                      f.quipnncint .

                                                        1 9.

           These and o ther eve nts a nd conditions were beyondL the reasonaNe control of

Veo lia and were not the result of ,a willful or nE, gli ;,ent act, error o: r om i ssion, failure 1:e ,

exercise reasonable ,3;iligerycf; or breach o f' the Agreement on' the; part ia lf Veolia .

                                                        20 .

           Once i1: began operating the biios ol;icls, facilities, Veolia wa s, forced to address these

ev{e~~ ~ts and conditions and, as a re,mzlt , incurred substwitial addiitiontil start-up costs as

well as repair costs beyond those called for in the original s~copc of the ALj ;re.em l'lnt.

                                                        21 .

           These events arid co ndit iort; urE,re :,o dii :ferryit . l:l-iari ,atit icipated that Veoli a was

directed by the City lo provide a revised scope of work or the Design Build.

][rnpr ov eirrEents to the City . Had these changes been ilr,lyile:crierited, they would have

increased he price for the Design Build Iniprove,Ynents, fi-orn `6'.i3,52',9 , 000 to

!6~~4,5~_`~5,583 .1)0, additional costs we-l-e; :needed. for re-pair and nep:lz ic ; enn { ei it of

eacisting ; equipment an d t ai address operatiiorm l nece:ssi tic'<.c ajrisirijy from the unforeseen and

unanl:ic4rated c,i :rc .UTl7S t ari<;es .

                                                       :Z:Z .

          Due ' to the unfalrf se,en ;Did unanticipated circumstances, the City paid V c-oli a in

excess of ;$S .Ei million to compensate it iFbr additional operational costs and re p a.irs~, all of

which were incurred in 2002 and :?0I)3 ,
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                                                     23 .

         In April 2003, ffie; City directed
                                   . `'c-olia to suspend the (lesign and . construction of

tli(-l pelletii 2;ers and . sought assistance irons Veoli a in ac,hiie,vii ng a rnodi filca,tion to the lan

                                                       ; City staff sus pended t he
for the bio:yoli&3 facilities . Upo n info;nnation and belief

pelletizer work, without the knowledge oi- a;pproval of the City Council,

                                                     24 .

         When the City uspendf,d portions of l:he Design Build Irrip ro ve,rne:nts; in A.pr.Y i! ~ of

2003, it changed the entire operational plan far the facilities, For e,tam.rl e„ it becune

ne0l";<,ary for Veo lia to pllai for continued incinera.tiiart and/oraild.11tional landfill disposal

o f biosolid material, vvlh:ic,l-i :ha,3 been ao]L irninat ed or si ;gn:ifican1] :y reduced under the

Agreement, ][ t also affected the entire overhaul of the biosolids management f'a~eii liti ~~>

and the suitability ctf' th. e condition of those il.ripravemelyil:s for proper utilization ark(l

service aver the ten pl us year term of the , grf,f ;rne nt. Adiiiitioryiill y, because the Design

;Bui lF cl Im.provemi,nt.s were, to be performed in conjunction with other rie;c ,e ssalry rep a irs

a n d replac:e,rnent to other equipment at the biosolyds management fa . cil.fties , the

suspension o f a m aj or portion of the I} esigi ;Bui lCcl Im.provenients necessarily affected -,in)(

other capital in7grovE ;ment;y that would rave; been a, j?a-t of any overall plan . -1for proper

facilities operation ajz4i maintenance,

                                                     25.

         Despite the proven thermal drying tf,c}uiolog ;5',;.omternplated in tie .A.geerrie ;rit, the

City determined that its financial re,sourc~es, could be b est employed vvllth an alternative

appraa ~ cY~~. In response to the Cit,y' s suspension and. at the City's ~~irec'tion, ~T~,oli~~

undertook a substaxitial re-evaluation of the entire }iol soli dfs p roject. Tlie pm-tics; worked

             a possible aye ;-scop{e of'the work . ("Possible Re-Scope") .
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                                                          16.

               F'cr SSsibl.e Re-Scope contemplated utiL•i2;i: gg the existing cii.g;esters, de-watelzng

teclmol .og3T and thenr,I a4 processing technology . The, incinerators were to toe upgrad ed

and the ash from incineration was to be utilized as a by-product that could be sold -lin the

market place for c ,onEsbtiictio n materials .

                                                      27.

         ']"lip, Possible Re-;irope also contemplated changCs, to the Design Build

Improvement and ne;cessIta'te;cl changes in the operation and maintenajacc budget to

incorporate the new process irnpro-v eirrie,nts„ adjusted construction scliedulexad revised

operating lan. Tic op erating, plan. under the Aln•e;men1:, which included elimination of

the incinerators and replac ement ivi1 E the - pe:llteizer :>, obvicu sly would have had

si.giificantl.y different u anzel;ens than the existing thermal processing stern t1 iat was

nom, to be upgqraded .

                                                      28.

         In order t{D <<c;c.unn-polish the goals set forI;h in the Poss :ible Re.-IScope, all parties

und ers tood that i: rriprove,naents to .a rnaj oril :y o f the existing, assets I N GuIld be   required emd


new High effi c:iesricy equipment wou]€cl have to be installed . of the~&

]1o, we;ve:r , changed the fact Oat al l digesters still[ needed to be cleaned, inspected arld

repaired .


                                                   2 9.

         By its letter of' I)ec ermb e;r 23, 2003 (th e "Decerriber 2003 City Letter"), attached

hereto as ]Exhibit "F3," the City confimlecl that aritirrplated andd detail[ed contract

ITI oclificati.ari, and that the p ail ie,s had ageed to pursue an arnendment to the Agreement

encompassing, the Possible Re-Scope .
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                                                    30 .

            Veolli a, at the direction of the t"it y, moved fi» -Nvair d with certain a s p ect s oft-he

Possible Re--'Scope- vr ork: during, the first: ]ha1L f of 20,0 4 . As it performed this vvo rk, it

repeatedly asked that the Cit;y pursue an au .r.ie.nclrnent to the Agi°e:e;rnent encornpassin ;g the

Pass able
        .-Scope
            Re as promised in. the City's December 2003 Letter .

                                                    31 .

            To datE,, the suspension has not b een lifted and no modification o f'1h.e A geem e;nt

e1n,c01rrIPassi n g Chip, PossibIle 'Re-Scope occurred .

                                                    3211,

            VE,olia completed certain iterns of additional weirk directed by the City and as

     i > 'Sil t ated by unfia xeseen ;aid u m a.ni - ic;ipatecl c o ndition s to allow pi-ciper and continued
11"A" "



operation oif the facilities .

                                                    33 .

            Veolia conti .nue ;dl to demand payment for, its ever inc :rf,asin,g costs of Desipp Build

][rnprove,ime;nts, :repairs, rep1ac E;rnent vv+»rk, op er•at i ork and work b e.yaricl the. s cople o f' lthe

Agre~emerit, all of which were caused by '[ric City's actions and iusiareseen andd

wiai-i1: ic :ipate id conditions .

                                                    34.

            While certain pa.or,i e;nts were made l by the (~"ty in ]IT sp I o TSe to V eoliia's req uesl:s,

the City has continually refused i:c, totally royn.rCn.satf, Veolia for the viol-k : peri :arrriE .r] .

                                                    35.

            hi addition to failing to corripe ;nsatE, Veolia fir Dc~;i gn Build ][rnpr4)v+errrimts;,

repl,arem.en.t s and repairs
                     ; made at the City's direction, the City has continually refused to




                                                        10
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pay 'Veoli.a.'s monthly :;(,Iv ice fee as required under the Agreement for,aperation and

managi .~nent af'the bic,soliicls iEa~cii1it~r .



           ']'lie parties have, since tlif, begiruiin .g; of VE:olia' s presence are this site, been

operating utidE,ia different sel t of c:ircurn .,tance s than c0 rntCIr.Ir ilatecC by th e Ag TCQ-Ir.I e;r A.

Further, since Apr7 1l of 2003, tiwhen the City suspended 1lie: oiriginal Desi p Build

Improvements, the par ries have operated under a relati onship that i s sii€rd ficantl.y

dii ;fe:rf ,nt than what is con.t + e j.r.iplatE,d by the Agx eerri e;nt, As a result,, Veolia is entitled t.o, be

paid foi- its work on a quantum mci-Liit basis .

                                                   COUNT I

                                             Breach A Contract)

                                                       37 .

          Vf,o lia reawers and rea]'1ie;g,es the all eg;ati.ons contained in Paragraphs 'tYu oulgri 37

liere;i na'biove .

                                                       38 .

           Veo lia and the Cit:y entered into the Ap -e ;e,nnent on or around August , 2002 .

                                                       3 '9 .

          'T'he I Ji t.y, has materially br i,-ac,hf,ci the Agreement tfio,u E ~i its ad:ions 'which

inc lude„ but are not Limited 1:c•, the foll .cowi rE g:

          (a) F'aillure to provide the facilities as repiresE,nted in the Agreement .

          i(b) Failure to pr (FV ide ioi r an equitable adjustment t c ) the A.gee men1: fior, the

                     suspension of the Design Raild Improvements . Such additio»al costs

                     inrlu.d.e all direct costs oiLlny necessary capital inn .provrments arising ; from.

                     the C'it,( s failure 1: o, proceed with the original plan Design Build


                                                       11
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          :[rnpr oveime;rits., as vie11 as all additional_ op,e3rationa1 costs aSsoc iated with

          the suspension .


  (c) Failure to compensate Veolia ficir numerous capital irnproverricials and

          repairs which Nv erE, necessitated b y unfxeseen . and uncontrollable

          c,irrurris tan r es,

  (d) Forcing 'Jeolia to proceed witty various, items, of capital iiriprovernents

          w it :hi aLit   contractually     mandated change ox(fers .


  (e) Failure to compensate Veolia for foree-aecouint Nvorlc as c ;crnterxfplat{,,d

          under Ifi e; .A .gree : mf,nt .

          Reqluiring capital irtypi•ove;rnants and modifications beyond that called for

          in the      greeim e,nt .

  (g) Failure to co rripeiisate, `Jeollia for capital imp ro ve,me: nts to the ext en t the

          work was within the scope, of the original scope of the Design Build

          Improvements.

  (]?) Failure to coirrkpf,nsa.te Veolia for all digester cleaning and repair Nvorlc,

          which w as treated as an allowance under th e,,arig;i n alf Design Build

          Irnpr•ove ;rnents and subject to on a cOst , plus basis .

  (i)     Failure 10, engage in the dispute resoluti on p :rocess «u1:Linecf in Article 1 9 of

          the Agreement (the "'Disputc Resolution Process") .

  (j}     Failure to develop :NZi.nirriixm ]Equipire,nt Perfartuance Standards at the

          inception o fffi e. .A vee~, mE:nt, as r equi red thereunder .

  ~(1, ) Refusing to rernit pa.ymaen't to Veoli a fx change order work, time, and.

          material work ., and monthly                   fees.




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           {l) Failure to pa. y, 'V'eo ha on aco ;;t p l us basis as re 9 uire ,c1 under the Agreement

                      due to the suspension .

           (m)        DelaJin. g;'Ve cl:ia's performance, af'DesijVi Build. Impro vem emnts ,

                      rep ia ri,rn.ents and repairs and faili ng to      pa y for all. costs resulting fi-orn .


                      such delays .

                                                          40 .

           As a direct and proximate re sult of' 1.h& Iroiegoillg breaches of the contraci, ti/eoli,a

suffered cLaLraage, s to date in excess o # ' .̀6 1S;, Ci GCI, 0 00, plus ril:ez t3 t.   Vtolla   continues to be

damaged on a daily ba .sis. Th e exact an ;oianl. o f VE,ol ia'' s damages will lie : pirov f,rt at trial .

                                                          41 .

           The C'it}i's failure to engage in the Dispute F .E,s~olutio~n~ Process was a willful and

materi al breach o fthe Agrecirie.nt arid s a result o :Fsiucda breach, the City has Nva:ilre.cl its

irights pursuant to the Dispute Resolution Process, including those provisions of the ;

Dispute Resolution Process relating to exclusive jui ri scliction iFbr disputes and jury trial




                                                           42 .


           Vecrlia has satisfied all riE:re.ssa1W Conditions p recedelnt for the bringing of this

rlairn and otherwise has satisfiie;d l fits ob ligations under the Agreement.

                                                    CO1JrTT II

                                  (Quantum M enaiit / Jnj us t ] :nrich meni;)

                                                         4.3 .

           Plaintiff reav ers's and realleges the allegations c-on tained in P aragr aphs 1 . through

43 ri e.re: inaYiov f,.




                                                          13
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                                                      44.

          Veo: lia provid ed material m d services for the benefit of the City .

                                                      4.5.

          `Ieolli a pr ov i ded materials and services fo r the fin provern{eiat o f property owfl(.'d by

the City .

                                                      46.

          The City received the m ateria:l s ui cl service's provided bay Veoli a and sai d

materials and services were c}l'belzei :rt to the Cit ;y .

                                                      47.

          The City has failed to compensate iii Oto fDr the rnatf,tY al. s and services A

has provided, even though the City i°e ;c,eivei3 and continues to enjoy the; 'be:nefits bestowed

~on them b~ y V e.olia.

                                                      48.

          As a direct and proximate result of' the City' s failure andd refusal to pay 'Veolia. for

the materials and services it received, Veolia suffered damages 111 CXcess of $215,000,000,

plus iin terf,st. Veolia continues to incuir damages on ad a: ify Imsis, The exact amount, of

,Veol :ia's clarnage ;s will be proven at I .rial .

                                                      49 .

          ~'ecilia i<.; entitled to quantum mie .ruit/umjiist enrichment re~coveiry for die value of

the irrietteirials arid services r .t has rendered for the benefit o f th e City, plus iin terE, s t,

ove r-he adi Eurn3 profit .




                                                      14
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                                                       5{E .


        `Je,cdia has, satisfied all. necessary conditions pr ecedent far the brinjong, of this

claim and. otherwise satisfied its cFbliprations under the A grcernent.


                                                 COIJr1T II ][

                                         (T) eclaral:ory Judgment)

                                                       51 .

        Va:o l. ia reave irs a nd realleges the a~l : le s~;a~tian.~ {c~~~n~tr iined in P wagaphs l th,rauj :;Yi 51

herE,inabove .

                                                       52.

        A dispute has arisen an d a justifiable, c ,ontrc]lm ,rsy n01N ' O:Cists between ' Ve olia and

the City as to the fights and liabilit iies oi.''the pa; rtics under the Agreement .

                                                       53 .

        V eo lia cont e nds th att the City has materially breached the, Agreement n n.u irne:roixs

,ways, as set forth ire above, but n1o,stt notably by :

        (a;I     Failing, to pay V eo:lia for Desig p Build Improvements, replacements and

                 repairs which were required by 11c: City.

        (b) Failing 1 .0 pay the monthly service fee, as required under t he A;g~ree srne:nt.

        (c) Failing to participate in t:h~e D:isp'ule RC :;oiuti.ari Process, thereby resulting

                 inn    of        tlh ~ e ro,n~t: rtwtual provisions relating t o e; x:cl iusive jiuri ,diction .

                 for disputes and jury trial wa.iver.

                                                       54 .

        Vf,c~lia is informed and bi~teat the City ~ onl :e: n[dLs to the contrary




                                                       15
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          Veolia is informed and believes that the City intends; to declare Veolia in default

under the Agrel-,iren.t and believe s t lh, atthe. City may take action pug °s,ua.n it to Section 15 .03

of the Agreement to draw on that certain Letter of Cffe;dLi' t number 050199 issued t)y

Ft a r l; of A;me,rir,a . Ve olia asserts that t he Agreement h as beem vitiated by the actio ns of

the City and as a result the 16" ity no longer has y right to draw on the Letter oi.' C re'dit.

Aii'~ such draw would be inade in bad faith and mrould be irripro per .

                                                         5 E~ .

         A declaration of rights, responsibilities and obligations of'Veolia wad the City is

essential 1:a determine their respective obligations, in co;rinection with, trie .A.€;reemeril:.

                                                         57 .

         A determination as to whether the City has materially toreached said Agreement is

ne c,,e;; , ;a xy for a deterrnii ri a ti o xi of the dispute -to gui de andd protect Ve o lia from ianri,rta ,ir ity

and insecurity with regard to Veolia' , future conduct, which if taken without direction

might Veolia's interests .

                                                   Qualrr v
                                                (ALttOiIie}~',; :Fees)

                                                         58 .

         Vec~lia r~~~~~r~~rs and . real.le;~~e;~ the alleg,atiar~s contained d in l'<~-a .gra.phs 1 ~tl~~o~~~~;~~ 57



                                                         59 .

          According 'to the terms oi' t h f , Age; en7 e nt, Veolia is e iii:i'tled t o its attoar.I e;y s;' fees

and costs incurrecl in prosecuting this action . Pursuant to O .IJ.(J .A. 6 13-1-11 ., Vf,oIia

hereby notifies, the Cit y that it has ten days fi-orn its receipt of this Comp][ai: nt to pay the


                                                         16
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abligatiom, as s e'lt forth herein, vvit]hout said attorneys' f~cs . If the City satisfies its

Obligation w ithin this time , the require;rnen't to xM}T afterneys" f-,es shall be v oid . and the

Court shal l enforce the attorneys ' fees provision within the .A .gree: ment.

        VVHE]LtFFOR;E„ 'V'e:ol:ia prays, that thi s Court

        a. Under Count I, enter _juciipent in favor of Veolia and against the City lFor

                general damages in exams of $25 aOq, ClO(}, the exar1: im aiirit to be Own

                at 1:ria1 ;

       b.       Under Count L[, enter judgment in favor o f VE,olia and against the C ity i .'or

                general clarn ap,s in excess o f $25,UIJ O„Ci OCI, the exam a r.vaint to be shown

                at trial ;

       c. Eater declaratory judgment in f<«Tor, of Veo:lia and against the ; City

                showing that the City has nial:erially breached the Agreeraeirrt ;

       d.       Grant V eol iiai fi ts re asona ble attarneys' fees arid expenses of htigation ;, and

       e. Grant V ecLia such other and ffirtlher relief as the Court may decra just and

               jurop er,




                                                17
                                                                                                               ----------------------
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       F.es,~~e .c t~fiill.~ submit' this ~~~!          day a~ ~~ :F J u:ne, 2006.

                                                      `V~471 :[IVEt I±: :R '. [s, VV ~[lE~ ;I:.E ~t, :H[U~~(sI:~~~~,




                                                      DAVID )
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                                                      Georgia F3u :Nci. 438,4`>g
                                                      CHRISTOPHER T . BYRD
                                                      Georgia Bar No . 1 00854

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4 {)4 - 8' 76 -27 00                                  A.tto Ir.Ie;ys for '1. aimti fjE




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